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~AO 245D                                                          #517
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Southern District of Illinois

        UNITED STATES OF AMERICA
                   v.
               REGINALD D. WALLS

                                                                             Case No. 03CR40053-006-JPG
                                                                             USM No. 06190-025
                                                                             Judith A. Kuenneke, AFPD
                                                                                               Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)          as alleged below          of the tenn of supervision.
o   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                           Violation Ended
Statutory                       The defendant distributed a mixture & substance containing                 09/20/2009

                                cocaine.ba~e(~r~6~~6c~iry~)             I"




       The defendant is sentenced as provided in pages 2 through _---"2;...._ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7761

Defendant's Year of Birth:          1964

City and State of Defendant's Residence:
DuQuoin, IL 62832
                                                                                                                      District Judge
                                                                                              Name and Title of Judge
              Case 4:03-cr-40053-JPG                      Document 269 Filed 05/06/10            Page 2 of 2           Page ID
  AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment
                                                                    #518
                                                                                               Judgment -   Page   2     of       2
  DEFENDANT: REGINALD D. WALLS
  CASE NUMBER: 03CR40053-006-JPG


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
24 months




       rI The court makes the following recommendations to the Bureau of Prisons:
That the defendant receive drug treatment.




       rI The defendant is remanded to the custody of the United States Marshal.
       o The defendant shall surrender to the United States Marshal for this district:
         o at ___________________ 0 a.m. o p.m. on
         o as notified by the United States Marshal.
       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before 2 p.m. on
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                          RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                 to

  at   ____________________________ with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                             By
                                                                                         DEPUTY UNITED STATES MARSHAL
